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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  AIR CANADA AND AEROPLAN INC.,

                        Plaintiffs,
                                                    C.A. No. 23-1177-GBW
                   v.

  LOCALHOST LLC,

                        Defendant.


                                      NOTICE OF SERVICE

         The undersigned counsel hereby certifies that on May 29, 2025 a true and correct copy of

 Plaintiffs’ Responses and Objections to Localhost’s Requests for Production of Documents

 and Things (Nos. 46-52) was caused to be served on the following counsel in the manner

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